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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURTT                                             LODGED
                                                                                                 CLERK, U.S. DISTRICT COURT

                                                         for the
                                                                                                 1/19/2022
                                            Central District of California                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                             jb
                                                                                               BY: ____________BB______ DEPUTY


 UNITED STATES OF AMERICA

                 v.
                                                                   Case No. 2:22mj229-duty                         FILED
 DESHAWN MARKEL WRIGHT,                                                                                   CLERK, U.S. DISTRICT COURT



                 Defendant(s)                                                                            January 19, 2022

                                                                                                                    CD
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA

                           CRIMINAL COMPLAINT BY TELEPHONE                                              BY: ___________________ DEPUTY


                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates of October 20, 2021, to December 29, 2021, in the county of Los Angeles in the Central

District of California, the defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 1951(a)                                     Conspiracy to interfere with
                                                                   commerce by robbery

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                   /s/ Ryan Stearman
                                                                                 Complainant’s signature

                                                                          Ryan Stearman, ATF Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                  January 19, 2022
                                                                                      Judge’s signature

 City and state: Los Angeles, California                               Hon. Alka Sagar, U.S. Magistrate Judge
                                                                                  Printed name and title

AUSA: Jeremiah Levine
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                               AFFIDAVIT
     I, Ryan J. Stearman, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION

     1.    I am currently assigned to the ATF Los Angeles Field

Division, Santa Ana Field Office, and have been employed by the

ATF since September 2005.     In the course of my employment as an

ATF Special Agent, I have conducted and assisted numerous

investigations involving criminal street gangs, possession of

firearms by prohibited persons, possession of stolen firearms,

possession of machineguns, the illegal distribution of firearms,

burglaries, robberies, and other violent crimes.         In particular,

I have conducted numerous serial robbery investigations

involving a suspect or suspects committing multiple robberies,

most of which were armed, of various businesses over a short

period of time.   As part of my current assignment, I work on the

ATF Orange County Violent Crime Task Force (“OCVCTF”), which is

comprised of federal and local law enforcement investigators

focusing primarily on violent crimes and firearm offenses.           As a

lead senior investigator on the OCVCTF, I routinely work with

various law enforcement agencies in Southern California, and

often across the United States, in reviewing and investigating

criminal patterns and identifying crimes that are related to

each other, specifically robberies.       Since 2016, I have

investigated hundreds of robberies, most of which were committed

by armed suspects.




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     2.   To successfully conduct these investigations, I have

used a variety of investigative techniques and resources,

including physical and electronic surveillance, wire

interceptions, cellular telephone analysis, interviews, the

utilization of undercover agents and informants, and the review

of various databases and records.       I have interviewed numerous

suspects who have committed robberies and become familiar with

the methods and means by which they commit crime and attempt to

avoid law enforcement detection.        I have also interviewed

witnesses and victims of crimes and participated in in-field

lineups and presentations of six-pack photo arrays for suspect

identification purposes.

     3.   I have received training during the course of my

employment as an ATF Special Agent in various topics to include

but not limited to: robberies affecting interstate commerce,

interview techniques, illegal trafficking of firearms, the

utilization of informants, the activities of criminal street

gangs, asset forfeiture, and conducting surveillance and wire

interceptions.   Through these investigations, my training and

experience, and conversations with other experienced agents and

law enforcement personnel, I have become familiar with the

methods used by individuals to plan and commit robberies, to

smuggle, safeguard, and store firearms, to distribute firearms,

and to collect and launder related, illicit proceeds.

     4.   In the course of my investigations, I routinely

utilize cellular technology and records, to include cell phone

pings, cell site simulators, forensic imaging of seized digital


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devices, call detail records with and without cell site location

information, tower logs, and account history information.          Just

in the last five years, I have reviewed and analyzed hundreds of

thousands of call detail records during various

investigations.   I regularly obtain and analyze these records

and data in the course of my investigations to establish

patterns and obtain evidence of the crimes in which I am

investigating since almost every person utilizes a cellular

telephone during this day and age, and these devices often

contain and transmit a wealth of information about a person’s

activities and communications related to criminal activity.

      5.   As an ATF Special Agent, I have also participated in

 numerous federal and state search and arrest warrants involving

 individuals engaged in conspiracies to commit robberies and

 burglaries, unlawfully trafficking firearms, stealing firearms,

 unlawfully possessing firearms, as well as other criminal

 activity, including controlled substance offenses.

 Additionally, I have participated in the collection and seizure

 of hundreds of cellular telephone records, firearms records,

 and other types of evidence that documents activities in

 furtherance of robbery conspiracies, firearms crimes, and

 controlled substance offenses.

                       II. PURPOSE OF AFFIDAVIT

      6.   This affidavit is made in support of the following: a

 criminal complaint charging DESHAWN MARKEL WRIGHT (“WRIGHT”)

 with conspiracy to interfere with commerce by robbery, in



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violation of 18 U.S.C. § 1951(a), as well as an associated

arrest warrant.

      7.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses, including my review of reports prepared by other law

enforcement officers and agents.        This affidavit is intended to

show merely that there is sufficient probable cause for the

requested warrant and does not purport to set forth all of my

knowledge of the investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                   III. SUMMARY OF PROBABLE CAUSE

      8.   ATF is investigating a series of no less than eight

(8) commercial robberies targeting pharmacies and Subway

restaurants across San Bernardino, Riverside, and Orange

counties.    As set forth below, the following evidence connects

WRIGHT to those robberies: (1) clothing worn by WRIGHT during

the robbery, which is consistent with items of clothing

recovered by law enforcement from his person at the time of his

arrest; (2) a vehicle that is associated with WRIGHT and

believed to have been used in at least four of the robberies;

(3) surveillance images from the robberies that are consistent

with WRIGHT being one of the suspects; and (4) the

identification of WRIGHT by several victims and witnesses as

one of the suspects involved in these robberies.

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                        IV. STATEMENT OF PROBABLE CAUSE

          9.     I am the lead ATF agent assigned to the investigation

     of eight robberies or attempted robberies of pharmacies and

     Subway restaurants1 spanning across Orange, Riverside, and San

     Bernardino Counties occurring between October 20, 2021 and

     December 29, 2021.    In at least three of the robberies, a

     firearm was brandished.     During the course of the investigation,

     I have obtained and reviewed local police reports related to the

     robberies, reviewed surveillance footage and still images from

     the robberies, conducted surveillance, and discussed the

     robberies with other involved law enforcement investigators,

     among other investigative activity.

A.   Robberies Under Investigation

          10.    The robberies under investigation are identified

     below.    The facts related to the robberies were obtained from

     law enforcement reports regarding the robberies, and my review

     of video of photographic surveillance, where available.

                 a.   On October 20, 2021, at approximately 4:05 p.m.,

     a robbery occurred at the Rite-Aid,2 located at 42021 E. Florida

     Avenue, Hemet, California.     The robbery was committed by two

     black male suspects, one of whom was armed with a pistol.            An

          1 Subway is a fast-food restaurant franchise headquartered
     in Milford, Connecticut with locations all over the United
     States and in more than 100 countries. As such, this
     corporation conducts interstate and international transactions
     of money and products.
          2 Rite-Aid is an American pharmacy retailer based in
     Philadelphia, Pennsylvania with more than 2,000 locations across
     the country. As such, this corporation conducts interstate
     transactions and transportation of money and products.


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employee of the store who witnessed the robbery stated that one

of the suspects had tattoos all over his face, which is

consistent with WRIGHT.     The suspects demanded and stole

promethazine with codeine from the pharmacy.        The suspects fled

out an emergency exit from the pharmacy.

          b.    On November 7, 2021, at approximately 9:30 a.m.,

an attempted armed robbery occurred at the pharmacy located

within the Vons grocery store,3 located at 27220 Sun City

Boulevard, Menifee, California.      The suspect was described as a

black male, in his mid-twenties, approximately 5’08”-5’09”, with

tattoos on his face.    The suspect was wearing a black beanie,

dark pants, and a black sweatshirt, carrying a black pack, and

was armed with a pistol.     When the suspect approached the

pharmacy counter, he jumped over it and pointed the gun with his

right hand at the pharmacist while asking for the promethazine

and codeine.   The pharmacist informed the suspect that the

pharmacist does not usually work at this pharmacy and is not

sure where those drugs are located.       The suspect searched behind

the counter and then left through a side door.         After police

arrived on scene, the store manager informed police that this

suspect matched the description of one of the suspects from a




     3 Vons is a supermarket chain subsidiary of Albertsons
headquartered in Fullerton, California and operating throughout
Southern California and Southern Nevada. As such, this
corporation conducts interstate transactions and transportation
of money and products.



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pharmacy robbery that occurred in Hemet, California on October

20, 2021.

               c.   On November 7, 2021, at approximately 10:45 a.m.,

an armed robbery occurred at the Walgreens pharmacy4, located at

40420 Murrieta Hot Springs Road, Murrieta, California.          The

suspect was described as a black male, in his mid-twenties,

approximately 5’06”-5’09” with a thin build, and tattoos on his

face.       The suspect was wearing a black beanie, dark pants, and a

black sweatshirt, carrying a black pack, and was armed with a

pistol.      When the suspect approached the pharmacy counter, he

pushed up the roll-up screen that was partially down and jumped

over the counter while holding a gun in his right hand.          The

suspect demanded that the pharmacist tell him where the

promethazine and codeine were located.       The pharmacist told the

suspect that it was all located inside a time-delayed safe and

the suspect became agitated and angry.       The suspect then asked

the pharmacist where the promethazine was located, and the

pharmacist showed him the promethazine (without codeine) not in

the safe.      The suspect then loaded his backpack with

approximately 10-12 bottles of promethazine worth approximately

$180 and fled the pharmacy out the front door on foot.




       Walgreens is a national pharmacy retailer and is purported
        4
to be the second largest pharmacy chain store in the United
States based in Deerfield, Illinois. With stores across the
United States, this corporation conducts interstate transactions
and transportation of money and products.


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            d.     On December 16, 2021, at approximately 7:27 p.m.,

a robbery occurred at the Subway restaurant, located at 12223

Highland Avenue, Unit 110, Rancho Cucamonga, California.          The

robbery was committed by three black male suspects wearing dark

clothing.   Only one of the suspects wore a surgical mask over

his face, while the other two suspects’ faces were visible to

the employees and surveillance cameras.       One suspect had

distinct tattoos all over his face.       The suspects demanded money

from the register while insinuating they had a firearm.          The

suspects stole approximately $1,255 and an iPad from the store

before fleeing.

            e.     On December 16, 2022, at approximately 9:41 p.m.,

a robbery occurred at the Subway restaurant, located at 15 West

Nuevo Road, Unit B, Perris, California.       This robbery occurred

less than two hours after the robbery in Rancho Cucamonga.           The

robbery was committed by two black male suspects, wearing the

same clothing as two of the suspects in the Rancho Cucamonga

robbery.    The suspects walked into the store wearing surgical

face masks.      One suspect jumped over the counter to where the

employees work, while the other suspect walked back to the

register on the customer side of the counter.        The suspects

directed the employee to open the register and both suspects

then proceeded to take money from the register and tip jar.            The

suspects stole approximately $344 before fleeing from the store.

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            f.   On December 29, 2021, over the span of less than

three hours, two suspects (described by victims or witnesses as

black or dark skinned, possibly Hispanic males) robbed the

following three different Subway restaurants in Orange County:

                 i.    At approximately 6:07 p.m., the Subway

located at 16163 Lake Forest Drive, Irvine, California was

robbed.    The loss was approximately $294.       A review of

surveillance footage showed the suspects arrived and left in a

silver four-door Honda Accord being driven by another suspect

who waited in the vehicle.

                 ii.   At approximately 6:46 PM, the Subway located

at 23411 Aliso Viejo Parkway, Aliso Viejo, California was

robbed.    The loss was approximately $400.       The victim recalled

that one of the suspects had a crown tattoo above his left eye,

which is generally consistent with the crown tattoo WRIGHT has

on his face, between his eyebrows.        A review of surveillance

footage showed that the suspects were wearing the same clothing

as the suspects in the Irvine robbery less than one hour

earlier.

                 iii. At approximately 8:27 p.m., the Subway

located at 722 North Brea Boulevard, Brea, California was

robbed.    The loss was approximately $414.       The victim recalled

that one of the suspects had tattoos on his face.          The

surveillance cameras were not working at this location but the

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victim’s description5 of the suspects was generally consistent

with the suspects from the two prior robberies that evening in

Orange County.


      B.    Identification of WRIGHT as a Suspect
      11.   On December 30, 2021, ATF Task Force Officer (“TFO”)

Ryan McDuffy canvassed the area of the Subway in Brea for

surveillance cameras that may have captured the suspects’

fleeing car.     TFO McDuffy located camera footage from a nearby

gas station of a silver Honda Accord leaving the area of the

Subway, shortly after the time of the robbery, at a high rate of

speed northbound on Brea Boulevard.        A subsequent review of a

license plate reader (“LPR”) database by TFO McDuffy and me

revealed that a silver 2016 Honda Accord 4-door sedan bearing

California license plate 8XVP086 was scanned headed northbound

on Brea Boulevard less than 3 miles north of the Subway

restaurant approximately ten to twelve minutes after the

robbery.

      12.   According to the California Department of Motor
Vehicles (“CA DMV”) records, the silver Honda Accord bearing

California license plate 8XVP086 is registered to ALQUISHIA

BENNETT (“BENNETT”) at an address in Perris, California.

            a.    A search of law enforcement database records on

December 31, 2021, by Orange County Probation Officer Jennifer

Fix, revealed that WRIGHT had listed BENNETT as a contact during



      5The victim described the suspects as dark skinned,
possibly Hispanic.
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prior arrests.    I then reviewed a recent booking photo of WRIGHT

and observed that he is a black male with several facial tattoos

including a tattoo of a crown between his eyebrows, which

appeared consistent with witness and victim descriptions.

      13.   On December 31, 2021, I queried WRIGHT’s criminal

history and observed that WRIGHT had been arrested the day

before (December 30, 2021) by the San Bernardino County

Sheriff’s Department (“SBSO”) for robbery and kidnapping.           I

also learned from law enforcement records that WRIGHT is on

felony probation in San Bernardino County for possessing a

firearm as a previously convicted felon.         WRIGHT has a criminal

history in California and Nevada that includes arrests for, but

not limited to:    robbery, burglary, receiving stolen property,

promoting a criminal street gang, criminal threats, assault with

a deadly weapon, trespassing, and firearm possession.

      14.   On January 3, 2022, I reviewed toll road data from The

Toll Roads, which operates toll roads in Orange County.           The

records showed that BENNETT’s silver Honda Accord was captured

on December 29, 2021 on the CA-241 and CA-133 toll roads

traveling southbound towards Irvine at 5:31 p.m. and again at

5:39 p.m., respectively.      This was approximately 30 minutes

prior to the robbery in Irvine.       This route of travel is

consistent with traveling from the Perris, California area,

which is the city of residence that WRIGHT’s associate, BENNETT,

lists as her DMV address, to Irvine, where the robbery occurred.

Additionally, the CA-133 merges onto Interstate 5 in Irvine




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approximately three miles from the Subway in Irvine that was

robbed.

      15.   On January 3, 2022, I spoke to SBSO Detective Ronald

Williams, who is the lead detective on the robbery case for

which WRIGHT was arrested on December 30, 2021.          In my

discussions with Detective Williams and through my review of the

reports and surveillance images, I learned that WRIGHT was

arrested for the December 16, 2021, robbery of a Subway

restaurant in Rancho Cucamonga.       Based on WRIGHT’s distinctive

facial tattoos, SBSO detectives identified WRIGHT as one of the

robbers.    Both employees working at the time of the robbery

picked WRIGHT out of a six-pack lineup when they were separately

presented with it.     As a result, SBSO obtained an arrest warrant

for WRIGHT.      On December 30, 2021, SBSO deputies located WRIGHT

as a passenger in BENNETT’s Honda Accord while BENNETT was

driving in Perris, California.

            a.     At the time of his arrest by SBSO, WRIGHT was

wearing the same distinct sweatshirt the suspect wore in the

Rancho Cucamonga and Perris Subway robberies, as well as the

Rite-Aid robbery in Hemet.

      16.   Following my discussions with SBSO Detective Williams,

I reviewed LPR data relevant to the timeframe of the Rancho

Cucamonga robbery and learned that BENNETT’s Honda Accord was

scanned three times between 5:08 p.m. and 6:55 p.m. on December

16, 2021, approximately 6 miles from the location of the Subway

that was robbed.     The last scan was approximately thirty minutes

before the robbery.     I know based on my training and experience,


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that individuals planning and committing robberies often spend

time scouting the area of the store or location where they

intend to rob in order to try and ensure they will not be

detected or apprehended.

      C.    Victim and Witness Identification of WRIGHT

      17.   Following the development of WRIGHT as a suspect in

these robberies, victims and witnesses from the robberies were

shown 6-pack photographic lineups which contained a picture of

WRIGHT.6

      18.   Out of the ten victims or witnesses interviewed from

the below listed robberies or attempted robbery, eight of them

identified WRIGHT in the lineups as one of or the one suspect

who committed the robbery or attempted robbery7:

            a.   Rite-Aid in Hemet, California:       the employee from

this robbery who was interviewed did not identify WRIGHT as one

of the suspects involved in the robbery, and instead identified

another individual in the six-pack.

            b.   Vons Pharmacy in Menifee, California:        the first

employee from this attempted robbery who was interviewed

identified WRIGHT in the six-pack as the person who resembled

the suspect the “closest,” but the employee stated that he/she

was “not 100% confident.”      A second employee said he was


6 WRIGHT’S position in the six-packs was rotated and not
consistent throughout each lineup. Additionally, law
enforcement personnel not familiar with the investigation or
developments made in the investigation were used to administer
the lineups with the witnesses and victims.
7 The victims from the Hemet and Irvine robberies picked
individuals in the lineup other than WRIGHT.
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confident that his selection of WRIGHT as the suspect was

correct based on WRIGHT’s facial features and tattoos.

             c.   Walgreens in Murrieta, California:       two employees

from this robbery were shown the six-pack separately, and both

identified WRIGHT as the suspect who committed the robbery.

             d.   Subway in Rancho Cucamonga, California:        the

first employee from this robbery that was shown the six-pack

identified WRIGHT as one of the suspects with an “80%”

certainty.    The second employee, who was interviewed at a

different time, picked WRIGHT out of the six-pack and stated

that he/she was “98%” certain of the identification.

             e.   Subway in Irvine, California:      the employee from

this robbery who was interviewed did not identify WRIGHT as one

of the suspects involved in the robbery, and instead identified

another individual in the six-pack.

             f.   Subway in Aliso Viejo, California:       the employee

from this robbery selected WRIGHT from the six-pack and stated

that he/she was “100%” certain in the identification.

             g.   Subway in Brea, California:      the employee from

this robbery reviewed the six-pack and stated that WRIGHT was

the only person he/she recognized with a “30-40%” certainty.

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                              V. CONCLUSION

      19.   For all the reasons described above, there is probable

cause to believe that WRIGHT has violated 18 U.S.C. § 1951(a),

conspiracy to interfere with commerce by robbery.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   19th day of
telephone on this ____
 January
_________, 2022.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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